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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                    LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                                   CRIMINAL ACTION 00-60029-01

 VERSUS                                                     JUDGE TUCKER L. MELANÇON

 JOHN TIMOTHY COTTON                                        MAGISTRATE JUDGE HANNA

                                                JUDGMENT

         John Timothy Cotton’s motion under 28 U.S.C. § 2255 to vacate, set aside, or correct

 sentence (Rec. Doc. 781) was referred to United States Magistrate Judge Patrick J. Hanna for

 report and recommendation, R. 846. After an independent review of the record, and

 consideration of the objections filed1, this Court concludes that the Magistrate Judge’s report and

 recommendation is correct and adopts the findings and conclusions therein as its own.

 Accordingly, it is

         ORDERED that John Timothy Cotton’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

 Aside, or Correct Sentence (Rec. Doc. 781) is DENIED AND DISMISSED WITH

 PREJUDICE.

         Thus done and signed in Lafayette, Louisiana, this 21st day of March, 2011.




         1
           In his objection, petitioner requests an evidentiary hearing and, in the alternative, that the Court
 “grant Summary Judgment in Petitioner’s favor as a Matter of Law.” As such pleadings were not
 included in petitioner’s “28 U.S.C. § 2255 motion”, they are not properly before the Court. Based on the
 Magistrate Judge’s findings in the Report and Recommendation, however, any such pleadings would be
 denied.
